   Case 4:23-cv-03560         Document 185        Filed on 12/30/24 in TXSD        Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 FEDERAL TRADE COMMISSION,

                        Plaintiff,

                        v.                                Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC.,

                        Defendant.


                    Joint Motion to Enter Supplemental Protective Order

       On May 28, 2024, the Court entered an order on motion for protective order (ECF No. 152)

adopting the protective order governing confidential and highly confidential materials filed at ECF

No. 149-1. Based on discussions with a nonparty, the Federal Trade Commission and Defendant

U.S. Anesthesia Partners, Inc. agree that good cause exists to enter a supplemental protective order

governing the use of confidential and highly confidential materials in hearings and at trial in this

matter. The parties respectfully request that the Court enter the attached Proposed Supplemental

Protective Order (Exhibit A) as stipulated.

Date: December 30, 2024                               Respectfully submitted,

 /s/ Kara Monahan                                    /s/ Kenneth M. Fetterman
 Kara Monahan (Pro Hac Vice)                         Kenneth M. Fetterman (Pro Hac Vice)
 600 Pennsylvania Avenue, N.W.                       KELLOGG, HANSEN, TODD,
 Washington, D.C. 20580                                FIGEL & FREDERICK, PLLC
 Tel: (202) 326-2018                                 1615 M Street N.W., Suite 400
 Email: kmonahan@ftc.gov                             Washington, D.C. 20036
                                                     Tel: (202) 326-7900
 Counsel for Plaintiff Federal Trade                 Email: kfetterman@kellogghansen.com
 Commission
                                                     Counsel for Defendant U.S. Anesthesia
                                                     Partners, Inc.



                                                 1
   Case 4:23-cv-03560        Document 185        Filed on 12/30/24 in TXSD         Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the foregoing Joint Motion to Enter

Supplemental Protective Order and attached proposed order to be served on all counsel of record

using the ECF system of the United States District Court for the Southern District of Texas.


Dated: December 30, 2024
                                                 /s/ Kara Monahan




                                                2
